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COUNSEL FOR CREDITOR
QUAD/GRAPHICS, INC.


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

In re:                                             §
                                                   §     Case No. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                         §
 OF AMERICA,                                       §
                                                   §     Chapter 11
         Debtor.                                   §

                    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
                          OF NOTICES AND OTHER DOCUMENTS

         PLEASE TAKE NOTICE that Fishman Jackson Ronquillo PLLC has been retained by

Quad/Graphics, Inc. (the "Appearing Party"), and files this Notice of Appearance and Request

for Service of Pleadings and Other Documents.

         The undersigned counsel for the Appearing Party request that notices of any actions taken,

adversary proceedings, contested matters, or motions filed by any other party, be served on it at

the following addresses:

                                          Mark Ralston
                                Fishman Jackson Ronquillo PLLC
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                                                 and

                                          Kevin T. White
                                         Director - Legal
                                       Quad/Graphics, Inc.
                                   601 Silveron Blvd., Suite 200
                                    Flower Mound, TX 75028
                                    E-mail: ktwhite@quad.com

                                                       Respectfully submitted,

                                                       FISHMAN JACKSON RONQUILLO PLLC

                                                        /s/ Mark H. Ralston
                                                       Mark H. Ralston
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                                                       COUNSEL FOR CREDITOR
                                                       QUAD/GRAPHICS, INC.


                                 CERTIFICATE OF SERVICE

        The undersigned certifies that he caused a true and correct copy of the foregoing document
to be served on the parties receiving electronic notice of filings in this case through the ECF system
on this, the 2nd day of February, 2021.

                                                        /s/ Mark H. Ralston
                                                       Mark H. Ralston




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REQUEST FOR SERVICE
OF NOTICES AND OTHER DOCUMENTS                                                                Page 2
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